               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Isaac McPheeters, a Special Agent with the Federal Bureau of Investigation assigned to

the Kansas City Field Office, being duly sworn, depose and state as follows:


                                       AGENT BACKGROUND


       1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I have been

employed by the FBI for approximately four years. I am an officer of the United States who is

empowered by law to conduct investigations of and to make arrests for offenses enumerated in

Titles 18 and 21 of the United States Code. In addition to my regular duties, I am currently also

tasked with investigating criminal activity that occurred in and around the Capitol grounds on

January 6, 2021.



                                  PURPOSE OF AFFIDAVIT

       2.     This affidavit is being submitted for the limited purpose of establishing probable

cause to believe that MICHAEL AARON QUICK (hereinafter referred to as “MICHAEL

QUICK”) has violated Title 18 U.S.C. §§ 1752(a)(1) and (2), Restricted Buildings or Grounds;

and Title 40 U.S.C. §§ 5104(e)(2)(D) and (G), Unlawful Activities on Capitol Grounds; Disorderly

Conduct; Parading and Demonstrating in the Capitol Building, as set forth below:

              a. Title 18 U.S.C. §§ 1752(a)(1) and (2): Restricted Building or Grounds; (1)

                   knowingly entering or remaining in any restricted building or grounds without

                   lawful authority to do; and (2) knowingly, and with intent to impede or disrupt

                   the orderly conduct of Government business or official functions, engaging in

                   disorderly or disruptive conduct in, or within such proximity to, any restricted

                   building or grounds when, or so that, such conduct, in fact, impedes or disrupts



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                  the orderly conduct of Government business or official functions; or attempts

                  or conspires to do so;

               b. Title 40 U.S.C. §§ 5104(e)(2)(D) and (G): Unlawful Activities on Capitol

                  Grounds; Willfully and knowingly (D) engaging in disorderly or disruptive

                  conduct, at any place in the Grounds or in any of the Capitol Buildings with the

                  intent to impede, disrupt, or disturb the orderly conduct of a session of Congress

                  or either House of Congress, or the orderly conduct in that building of a hearing

                  before, or any deliberations of, a committee of Congress or either House of

                  Congress; and (G) parading, demonstrating, or picketing in any of the Capitol

                  Buildings.

       3.      The statements contained in this affidavit are based in part on: information provided

by FBI Special Agents, Task Force Officers, and FBI Analysts, written reports about this and other

investigations that I have received, directly or indirectly, from other law enforcement agents,

information gathered from the results of physical surveillance conducted by law enforcement

agents, reporting by eye witnesses, independent investigation and analysis by FBI Agents/Analysts

and computer forensic professionals, and my experience, training and background as an FBI

Agent. Because this affidavit is being submitted for the limited purpose of securing a criminal

complaint, I have not included each and every fact known to me concerning this investigation.

Instead, I have set forth only the facts that I believe are necessary to establish the necessary

foundation for the requested complaint.

                                          JURISDICTION

       4.      This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and



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(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

the U.S. Attorney’s Office for the District of Columbia is investigating this case, which, among

other things, involves possible violations of Title 18 U.S.C. §§ 1752(a)(1) and (2): Restricted

Building or Grounds and Title 40 U.S.C. §§ 5104(e)(2)(D) and (G), Unlawful Activities on Capitol

Grounds and Disorderly Conduct. The conduct at issue includes an overt act in the District of

Columbia, in the form of entering a restricted area around the Capitol on January 6, 2021, as part

of a mob that disrupted the proceedings of Congress, engaged in property damage and theft, and

caused physical injury.

                                 BASIS FOR PROBABLE CAUSE


        5.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification were allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

        6.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.




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Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       7.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       8.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       9.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the

United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President

Pence remained in the United States Capitol from the time he was evacuated from the Senate

Chamber until the sessions resumed.

       10.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.



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       11.    On January 21, 2021, MICHAEL QUICK made statements to the FBI in a

voluntary, non-custodial interview. MICHAEL QUICK admitted to going inside the U.S. Capitol

during the riot that took place on January 6, 2021. MICHAEL QUICK said that he went to

Washington D.C. to attend the “Stop The Steal” rally that was to take place there on January 6,

2021. MICHAEL QUICK recounted that he entered the Capitol building where he saw a broken

window and entered a hallway. MICHAEL QUICK said he saw police in the hallway wearing riot

gear. MICHAEL QUICK estimated he was inside the CAPITOL for a period of time between five

and fifteen minutes. MICHAEL QUICK explained that his goal was to show support so Congress

would investigate irregularities in the election and do something about it. MICHAEL QUICK

stated that he did not know he was trespassing at the time because he thought police were letting

people in. MICHAEL QUICK also said that police were telling people where the exits were while

he was inside. MICHAEL QUICK can be seen entering the U.S. Capitol through the open window

in Image 1.

Image 1




                                               5

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       12.     MICHAEL QUICK’s brother, STEPHEN BRIAN QUICK (hereinafter “SQ”) was

interviewed by the FBI on January 21, 2021. SQ stated that he traveled with MICHAEL QUICK

to the Stop The Steal protest and went inside the Capitol with MICHAEL QUICK on January 6,

2021. SQ provided video to me from inside the Capitol during the riot at the same time that he and

MICHAEL QUICK went inside. A review of two videos showed MICHAEL QUICK inside the

Capitol building during the riot (see Image 2 and 3 below). I recognized MICHAEL QUICK in

these photos from having interviewed him.

       Image-2




       Image-3




                                                6

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         13.   FBI investigation obtained security footage taken from inside the Capitol near the

door for Senate Wing area S139 on January 6, 2021.. Footage from about 2:56 PM shows

MICHAEL QUICK inside the capitol during the protest. The entrance directly behind MICHAEL

QUICK is later seen in the footage to be an open window. See Images 4, 5, and 6 below with the

red arrows identifying MICHAEL QUICK. I recognize MICHAEL QUICK in these photos after

having          interviewed           MICHAEL              QUICK             in          person.

Image-4




Image-5 (close up of QUICK from Capitol security footage)




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Image-6 (close up of QUICK from Capitol security footage)




                                      CONCLUSION


       14.    Based on the above factual allegations, I submit that probable cause exists to

believe that MICHAEL QUICK has violated Title 18 U.S.C. §§ 1752(a)(1) and (2), Restricted

Buildings or Grounds, and Title 40 U.S.C. §§ 5104(e)(2)(D) and (G), Unlawful Activities on

Capitol Grounds; Disorderly Conduct; Parading and Demonstrating in the Capitol Building.




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                                                    Respectfully submitted,




                                                    ISAAC MCPHEETERS
                                                    SPECIAL AGENT
                                                    FEDERAL BUREAU OF INVESTIGATION




Sworn to via telephone after submission by reliable electronic means, Fed. R. Crim. P. 3, 4(d),

and 4.1, on this 10th day of February 2021.
                            2021.02.10
                            20:58:14 -05'00'
       _________________________________________
       ZIA M. FARUQUI
       UNITED STATES MAGISTRATE JUDGE




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